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                                                               ™                                                    NEWS RELEASE
Movidity Demonstrated at JavaOne Conference
Toronto, Canada & San Francisco, California – May 12, 2006

The Movidity J2ME Mobile Multimedia Player will be used as a media technology demonstration
for Jazelle-enabled ARM [(LSE: ARM); (Nasdaq: ARMHY)] platforms at the Sun JavaOne
Conference in San Francisco, California during the week of May 15, 2006.

Specifically, ARM will be demonstrating the Movidity player upon a Qualcomm platform, with
Sprint’s mobile wireless network. This joint demonstration between ARM, Sprint, Qualcomm and
Movidity underscores the significance of each organization in the realm of advanced mobile
multimedia. The performance of Movidity’s multimedia player will be matched with the
capabilities of the ARM enabled Qualcomm mobile device platform and Sprint’s advanced
wireless network, allowing attendees to experience the next generation in mobile multimedia.

Movidity truly enables multimedia mobility in such areas as on-demand broadcast television/
radio, archived media, mobile gaming, mobile video security, remote video / audio telemetry and
media enhanced advertising.




About Movidity
Movidity is bringing the future of multimedia to the mobile world, today. Movidity is a tightly integrated
system of software elements that perform multimedia transcoding, distribution, and transmission to mobile
devices running a Movidity “player”. Movidity leverages highly advanced mathematical algorithms,
innovative video processing, and a new, unique transmission method to provide quality video and audio-on-
demand, along with two-way interactive capabilities to wireless mobile clients. Cross-compatible to all
GSM, CDMA, WCDMA, EVDO and i-mode networks, Movidity enables global access to rich multimedia
content at disruptive economies of scale. Headquartered in Toronto, Canada, Movidity’s products are
available to mobile device manufacturers, wireless service providers, content creators / providers, and even
individuals. More information on Movidity is available at http://www.movidity.com
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